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UNITED STA TES} er caURy COURT

 

 

US DIS
DISTR MAY 7 2021
AT GREENBELT
wine
702) KAY - : BY MARYLAND DEPUTY
MONICA JEFFRIES KAY ~] P 3 38
Plaintiff ERK’S @ivil Action Number: it S$ Q2levil2s
VS RY, / / oe
TRAVERLERS PROPERTY CASUALTY
Defendants

MOTION FOR EXPEDITED TRIAL PURSUANT TO RELIEF
IN A SLIP AND FALL LIABILTY HAS BEEN ESTABLISHED,

Comes now the plaintiff Jeffries, pro se into this Honorable court seeking a
expedited trial, and relief pursuant to a premises liability case. This Honorable court
has jurisdiction over this matter. Plaintiff has tried on several occasions to resolve this
matter, without tying up this courts calendar, and further not to burden the already
overworked judicial system. Plaintiff has also requested that this matter be heard by a
Magistrate Judge, in order to timely resolve this matter. Plaintiff has filed the
appropriate form, to have a Magistrate Judge hear this case. Plaintiff hereto requests a
jury of her peers, plaintiffs damages are over $350.000.00; and continues to mount the
longer defendants drag this matter along. Plaintiff has requested a response from the
defendants regarding on going medical treatment, that should be covered by
defendants Med-pay policy. However, much to plaintiffs detriment defendants have
refused to timely respond.

BACKGROUND

Plaintiff and her grandson fell in a huge pothole on defendants property.
Plaintiffs car was damaged, and grandson was injured as well. As a result of
defendants negligence. Defendant owed me a duty to maintain the property.
Defendant breached that duty, by not repairing the parking lot, nor did defendant have
proper lighting. Plaintiff could not see the huge pothole, as the rain had apparently
filled up the huge hole, and it was now evening;and no lights were properly displayed

on defendants property. The parking lot had inadequate lighting. There was ‘NO
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WAY’ for plaintiff to determine how deep the hole was, as the hole was now filled
with water from the rain, and it was dark. Plaintiffs injuries that she sustained due to
defendants negligence are as follows:
|. Plaintiff suffered two broken ribs, an actual brake and not a fracture.
Plaintiffs ribs were broken, the ribs are not mending properly. Which may cause
plaintiff to undergo yet another surgery to brace and properly align the ribs.
2. Plaintiff also suffered a lacerated liver, plaintiff was in the ICU (intensive
care unit) for 3 days until the bleeding had stopped, then another 6 days to
help control the severe pain of the broken ribs.
3. Plaintiff also displaced an implant, an implant that was placed as the plaintiff
is recovering from stage III breast cancer,plaintiff had a mastectomy, hence the
placement of the implant. Plaintiff will have the implant removed shortly;
plaintiff also requested about the payment of that procedure. Defendant has yet
to respond much to plaintiffs detriment.
4. Shortly after the fall; plaintiff begin to suffer from double pneumonia, due to
the broken ribs, as it was very difficult for plaintiff to breath deeply. The pain
was not controlled. Plaintiffalso begin to have a serious on set of Bronchitis
which was triggered by the fall.
5. Plaintiff was just informed that she also has two herniated discs which can
be attributable to the fall. Plaintiff has reached out to Travelers; regarding
payment for physical therapy, without any response from defendants.
6. Plaintiff has a porta-cath which now has to be constantly monitored; due to
the fragility of the port which may or may not, have a break in the line.
7. Plaintiff has suffered tremendous emotional and physical; pain and suffering
as the pain and suffering will go on for quite some time. Plaintiff has need of a
home health aid, which plaintiffs son has continued to pay since the inception
of the fall. Defendants have refused to assist the plaintiff in making the
payments to the home health aid.
8. Plaintiff has since been terminated from her job, because she could not
accept any new deployments, as deployments are an essential part of her job.
Plaintiff could not perform her job as an “Provisional Election Judge” for this
past election. Plaintiff would have made $300.00 a day per Covid, ordinarily

plaintiff would have made $200.00 a day for 7 days.
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NEGLIGENCE

Clearly defendant owed plaintiff.a duty of care; by maintaining the parking
lot, and providing appropriate lighting. Defendant is a commercial property which
owes me a duty to properly maintain the property. Defendants breached that duty by
NOT maintaining the property. Defendants reckless and non-conforming actions and
in-actions are the direct result of plaintiffs fall, causing her great harm and duress.

|. Defendants clearly owed plaintiff a duty of care.

2. Defendants clearly breached that duty by not ‘properly maintaining’ the

property.

3. Defendants have continued to burden the plaintiff by not timely responding

to the fact that “the parking lot’ is a complete mess, to say the least.

4. Defendants reckless, careless, wantonly in-actions was done with reckless

disregard of the duty of care.

5. As a direct result plaintiff has suffered severe bodily harm, emotional pain

and suffering, and on-going medical issues caused by the fall. As a result of that

fall plaintiff has damages in excess over $350,000.00 and the medicals are

mounting.

Wherefore for all of the above reasons, plaintiff hereto requests, this Honorable
court to set this matter for a expeditious trial with a jury of her peers. And to further
ORDER the defendants to timely respond to plaintiffs request; regarding the MedPay
incidentals. As the on-going medical issues are still outstanding, plaintiff wants
closure at this juncture. Plaintiff requests any other further relief this honorable court
deems just and fair in the light of plaintiffs favor.

Respectfully submitted,

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Monica Jeffries, Plaintiff pro se
414 Winslow Road, Oxon Hill Maryland 20745
Phone: 301-485-1659

CERTIFICATE OF SERVICE ATTACHED
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CERTIFICATE OF SERVICE
Monica Jeffries the person of record hereby certify that a copy of the

foregoing:

PLAINTIFFS MOTION FOR A TIMELY JURY TRIAL

Was sent postage prepaid U.S mail on this May 8, 2021 to the following:

Travelers Property Casualty Company of America

Resident agent: Seminara Nicholas, One Tower Square, Hartford, CT. 06183

Travelers Property casualty Company of America,

Resident agent: Chief Financial Officer, P.O. Box 430, Buffalo, NY 14240-0430

Travelers Property Casualty Company of America

E-mail sent to Lani Johns, claims adjuster

Respectfully submitted,

Morice Vanes

Monica Jeffries, Plaintiff c
414 Winslow Road, Oxon Hill Maryland 20745

Phone: 301-485-1659 e-mail: jeffriesmonica@yahoo.com

Date entered: May 11", 2021
